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8    Attorneys for Plaintiffs

9
                                 UNITED STATES DISTRICT COURT
10

11                              NORTHERN DISTRICT OF CALIFORNIA

12   DANIEL VALENTI, Individually and On           CASE NO.: 3:21-cv-06118-JD
     Behalf of All Others Similarly Situated,
13                                                 CERTIFICATE OF SERVICE
            Plaintiff,
14

15   vs.

16   DFINITY USA RESEARCH LLC, DFINITY
     FOUNDATION and DOMINIC WILLIAMS,
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            Defendants.
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                                       CERTIFICATE OF SERVICE
           Case 3:21-cv-06118-JD         Document 118-1         Filed 08/07/23      Page 2 of 3



1                                      CERTIFICATE OF SERVICE
2           I, Linda Oxford declare:
3           I am employed in San Francisco County, California. I am over the age of eighteen years
4    and not a party to the within-entitled action. My business address is Erickson Kramer Osborne
5
     LLP, 44 Tehama St., San Francisco, CA 94105.
6
            On August 7, 2023, I served a copy of the following document(s):
7
            NOTICE OF APPEARANCE OF ELIZABETH KRAMER
8
      ☒ by transmitting via e-mail the documents to the person(s) at the e-mail
9
          addresses set forth below. I did not receive, within a reasonable time
10
          after the transmission, any electronic message or other indication that the
11
          transmission was unsuccessful.
12    ATTORNEYS FOR DEFENDANTS DFNITY USA RESEARCH LLC, DFINITY
13
      FOUNDATION and DOMINIC WILLIAMS
      Antony L. Ryan
14    Cravath, Swaine Moore LLP
      825 Eighth Avenue
15    New York, NY 10019
16    Email: aryan@cravath.com
             korsini@cravath.com
17           esiegel@cravath.com
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23    Brenna D Nelinson
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24    51 Madison Avenue, 22nd Floor
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      New York, NY 10010
      Email: brennanelinson@quinnemanuel.com
26

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                                         CERTIFICATE OF SERVICE
                                                   1
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      Emily Casey Warren Kapur
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      Quinn Emanuel
2     555 Twin Dolphin Drive, 5th Floor
      Redwood Shores, CA 94065
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4
      VIA EMAIL
5
      ATTORNEYS FOR PLAINTIFS DANIEL VALENTI and HENRY RODRIGUEZ
6
      Jordan Goldstein
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      1290 Avenue of the Americas
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      New York, NY 10104
9     Email: jgoldstein@selendygay.com
             oshine@selendygay.com
10           bghafarzade@selendygay.com
             ggerber@selendygay.com
11

12    VIA EMAIL

13
            I declare under penalty of perjury under the laws of the United States of America that the
14
     above is true and correct.
15
            Executed on August 7, 2023, at San Francisco, California.
16

17
                                                      Linda Oxford
18

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                                        CERTIFICATE OF SERVICE
                                                  2
